Case: 19-1736
            CaseDocument:  00117489280Document
                 1:25-cv-10676-BEM       Page: 159-1 Date Filed:
                                                       Filed     09/14/2019
                                                             04/08/25    Page 1Entry
                                                                                of 3 ID: 6282117




                      United States Court of Appeals
                                       For the First Circuit
                                          _____________________

      No. 19-1736
                                  JOSE DANIEL GUERRA-CASTANEDA

                                                   Petitioner

                                                       v.

                                             WILLIAM P. BARR

                                                Respondent
                                            __________________

                                                    Before

                                       Thompson, Kayatta and Barron,
                                             Circuit Judges.
                                          __________________
                                          ORDER OF COURT

                                         Entered: September 14, 2019

               On Friday, September 13, 2019, this court received an after-hours filing from respondent
      stating that petitioner had been that same day removed to El Salvador, despite this court's
      September 11, 2019, order staying petitioner's removal from the United States, which remains in
      effect. The filing further states that DHS has "already begun exploring options for facilitating
      [p]etitioner's return[.]"

              By no later than 5 p.m. on Monday, September 16, 2019, respondent shall provide to the
      court, in detail, an explanation of how and why petitioner was removed to El Salvador in the face
      of this court's stay order and why respondent should not be held in contempt. Respondent shall
      also make all necessary inquiries and, at the same time, provide all information in its possession,
      custody, or control concerning (1) petitioner's current location and his condition, including whether
      he is presently detained by Salvadoran authorities or otherwise, and (2) the efforts being made to
      return him to this country forthwith. Respondent's submission to this court shall be made under
      the pains and penalties of perjury.

                                                             By the Court:

                                                             Maria R. Hamilton, Clerk

      cc:    Nina Jane Froes; OIL OIL; Giovanni Di Maggio



                                                                                              EXHIBIT A
            CaseDocument:
Case: 19-1736    1:25-cv-10676-BEM   Document
                           00117491683        59-1 Date
                                        Page: 1      Filed 04/08/25
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                                                               09/19/2019     of 3 ID: 6283505




                      United States Court of Appeals
                                       For the First Circuit
                                           _____________________

      No. 19-1736

                                  JOSE DANIEL GUERRA-CASTANEDA,

                                                   Petitioner,

                                                       v.

                                   WILLIAM P. BARR, Attorney General,

                                                Respondent.
                                            __________________

                                                    Before

                                       Thompson, Kayatta, and Barron,
                                              Circuit Judges.
                                           __________________

                                                   ORDER

                                         Entered: September 19, 2019

              On Monday, September 16, 2019, this court received respondent's response to our
      September 14, 2019 Order directing respondent to "provide all information in its possession,
      custody, or control concerning (1) petitioner's current location and his condition, including whether
      he is presently detained by Salvadoran authorities or otherwise, and (2) the efforts being made to
      return him to this country forthwith."

              Having reviewed respondent's September 14, 2019 submission, as well as petitioner's
      September 18, 2019 responsive filing, the court has determined that certain information requested
      remains outstanding, and further information is needed. Respondent is directed to provide
      information regarding petitioner's current condition and, further, the respondent shall describe in
      detail the efforts being made to ascertain information about petitioner's current condition and the
      means and resources at its disposal to do so. The court directs respondent to provide a detailed
      explanation of its efforts to locate petitioner and to secure his prompt return to the United States,
      as well as the means and resources at respondent's disposal to do so.

              This court orders respondent to provide affidavits from the transferring and manifesting
      officers. Respondent also is ordered to provide more detail on the transfer and manifest processes.
            CaseDocument:
Case: 19-1736    1:25-cv-10676-BEM   Document
                           00117491683        59-1 Date
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                                                        Filed:         Page 3Entry
                                                               09/19/2019     of 3 ID: 6283505




            In addition, respondent will provide to the court the steps it will take to ensure that such
      removals do not happen in the future in contravention of this court's stay-of-removal orders.

              Respondent shall file its response by no later than September 26, 2019, and respondent is
      directed that its response shall include any other information in its possession, custody, or control
      relevant to the court's inquiries. Respondent's submission to this court shall be made under the
      pains and penalties of perjury.

              After reviewing respondent's submission, the court may consider directing a representative
      of respondent to appear and address these issues in person. Status reports shall be filed whenever
      the events warrant an update, but respondent must file a status report at least every ten (10) days,
      beginning with the tenth day following the submission discussed above.

             Counsel for the petitioner is invited to file with the court further responses to offer any
      additional information deemed relevant to the resolution of the matter.

              With respect to the case on the merits, in order to minimize the period between petitioner's
      unauthorized removal and any ultimate disposition of his petition, briefing is hereby expedited as
      follows: Petitioner's brief shall be filed on or before September 23, 2019. Respondent's brief shall
      be filed on or before October 3, 2019. Petitioner's reply brief, if any, shall be filed on or before
      October 10, 2019.

              The issue of contempt is reserved for the ultimate panel's consideration and resolution, and
      the parties should fully brief that issue.

             The court's show-cause order is continued.

                                                                    By the Court:

                                                                    Maria Hamilton

      cc:
      Nina Jane Froes
      OIL
      Giovanni Di Maggio
